Case 2:02-CV-02891-BBD Document 127 Filed 07/07/05 Page 1 of 3 Page|D 143

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IN THE UNlTED STATES olSTRICT CoURT
FOR THE WESTERN DISTRICT oF TENNESSEE 05 JUL -7 pH 3, w
WESTERN DlvlsloN

 

 

JIT CONCEPTS, INC.
Plaintiff,

v. No.: 02-289l-DV

SHELBY COUNTY HEALTHCARE
CORPORATION d/b/a REGIONAL
MEDICAL CENTER AT MEMPHIS,

Defendant.

 

ORDER ON DEFENDANT’S RULE 50(b) RENEWED MOTION
FOR JUDGMENT AS A MATTER OF LAW
OR, IN THE ALTERNATIVE, RULE 59(a) MOTION FOR NEW TRIAL

 

IT APPEARING TO THE COURT that the motion of the Defendant, Shelby County
Healthcare Corporation dfb/a Regional Medioal Center, for Judgment as a Matter of Law or, in the
Altemative, Motion for New Trial is not well-taken and Should not be granted,

IT IS, THEREFORE, ORDERED, ADJUDGED AND DECREED that the Defendant’s

Motion for Judgment as a Matter of Law or, in the Alternative, Motion for New Trial is DENIED.

IT IS So oRDERED this ifpan 0%, 2005.
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J ITED STATES DISTRICT IUDGE

 
    

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 127 in
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Honorable Bernice Donald
US DISTRICT COURT

Filed 07/07/05 Page 3 of 3 Page|D 145

